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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  ROANOKE DIVISION

 IN THE MATTER OF THE SEARCH OF                                7:23-mj-145
 INFORMATION ASSOCIATED WITH                      Case No. ____________________
 (832) 290-7035 THAT IS STORED AT
 PREMISES CONTROLLED BY
 APPSVERSE, INC.

                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Daniel S. Lang, being first duly sworn, hereby depose and state as follows:


                      INTRODUCTION AND AGENT BACKGROUND


       1.      I make this affidavit in support of an application for a search warrant for

information associated with phone number (832) 290-7035 that is stored at premises owned,

maintained, controlled, or operated by Appsverse, Inc., (“Appsverse”) a wireless provider

headquartered at 5255 Stevens Creek Rd. Suite 398 Santa Clara, California 95051-6664. The

information to be searched is described in the following paragraphs and in Attachment A. This

affidavit is made in support of an application for a search warrant under 18 U.S.C. § 2703(a),

(b)(1)(A), and (c)(1)(A) to require Appsverse to disclose to the government records and other

information in its possession pertaining to the subscriber or customer associated with the accounts,

including the contents of communications.

       2.      I am a Criminal Investigator Deputy United States Marshal (CIDUSM) with the

United States Marshals Service (USMS) and have been since October 17, 2016. I am currently

assigned as the District Sex Offender Coordinator (DSOC) for the Western District of Virginia in

Roanoke, Virginia. In accordance with the performance of my duties, I am assigned to locate and

apprehend federal, state, and local fugitives, conduct criminal investigations, and make arrests in
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